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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

DYLAN BRANDT, ET AL                                                        PLAINTIFFS

V.                                     4:21CV00450 JM


LESLIE RUTLEDGE, ET AL                                                     DEFENDANTS

                                            ORDER

       Pending is the Motion to Quash filed by Representative Robin Lundstrum, Plaintiff’s

Motion to Compel the Production of Documents, and Defendants’ Motion to Quash the

Deposition of Defendant Dr. Rhys Branman.

       Defendants are directed to file a substantive response to Plaintiffs’ Motion to Compel by

Friday, June 17, 2022. The Court will not deny the Motion to Compel based upon a failure to

meet and confer under the circumstances of this motion as Defendant suggests.

       Within twenty days from the date of this Order, Dr. Branman is directed to sit for a

deposition and Representative Robin Lundstrom is directed to sit for a deposition regarding her

non-legislative activity.

       Representative Lundstrom’s Motion to Quash (ECF No. 119) is GRANTED IN PART

and DENIED IN PART. Plaintiff’s Motion to Compel (ECF No. 122) is taken under advisement

pending Defendants’ response. Defendant’s Motion to Quash Dr. Branman’s Deposition (ECF

No. 130) is DENIED.

       IT IS SO ORDERED this 9th day of June 2022.



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                                                            James M. Moody Jr.
                                                            United States District Judge
